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                           UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF PENNSYLVANIA

  In re:

  NATIONAL BROKERS OF AMERICA,                      Chapter 7
  INC.

       Debtor.                          Bankruptcy No. 19-15488-pmm
  _____________________________________ ___________________________________

         DEBTOR’S MOTION FOR ENFORCEMENT OF THE AUTOMATIC STAY,
  VACATING OF JUDGMENTS AS VOID, AND ENJOINING JASON SCOTT JORDAN
         FROM PURSUING CLAIMS IN BERKS COUNTY CIVIL DOCKET 14-17117



           Debtor, National Brokers of America, through undersigned counsel, request that the Court

 enter an order enforcing the automatic stay, voiding the judgments entered in Berks County

 Pennsylvania against Debtor, Alan C. Redmond, and Bene Market, LLC, enjoining Jason Scott

 Jordan from pursuing claims against the same in Berks County, Pennsylvania, Court of Common

 Pleas Civil Docket 14-17117, and issuing sanctions against Joel Ready, Esq. and Cornerstone Law

 Firm.

           Introduction

           This Motion asserts that Jason Jordan, by and through his counsel, Joel Reedy, Esq. and

 Cornerstone Law Firm, David Crossett, Esq. and Joel Reedy, Esq. and the Berks County Court of

 Common Pleas violated the Automatic Stay in this matter by obtaining, entering, and subsequently

 enforcing a judgment in excess of $13,000,000 pursuant to a verdict in a civil matter after trial in

 the Berks County Court of Common Pleas (“The Berks Matter”) against Debtor, Alan C. Redmond

 and Bene Markets, LLC. It further asserts that Jason Jordan through counsel continues to violate

 the automatic stay in this matter as they are seeking assets of Debtor through a separate law suit
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 brought in the Berks County Court of Common Pleas in which Alan C. Redmond, Bene Markets,

 LLC and Stephanie Miller are Defendants (“The Pending Matter”)

                                Relevant Proceedings and Events

        Below is an abbreviated list of proceedings in Pennsylvania and before this Court which

 are relevant to the content and context of the present Motion

 Relevant Procedural and Factual History – Pennsylvania Proceedings

    1. On October 28, 2014, Debtor filed a Complaint against Jason Scott Jordan (“Jordan”) in

 the Berks County, Pennsylvania, Court of Common Pleas seeking recovery on claims of Breach

 of Contract and Defamation, Berks County Civil docket 14-17117 (“the Berks Matter”).

    2. The gist of the Debtor’s claims was that:

        a.       Alan C. Redmond, then sole owner of Debtor, offered employment and ownership

 interest to Jordan upon assurances that Jordan had a clean criminal history and was licensed to sell

 insurance; despite said assurance, after entering into an employment and ownership sharing

 contract with Jordan, it was learned Jordan had a substantial criminal history and was not licensed

 to sell insurance;

        b.      Jordan was charged, subsequent to the employment and ownership sharing contract,

 with two separate Driving Under the Influence charges and was beginning to miss work, perform

 poorly at work, and become threatening to employees at work;

        c.      Based upon Jordan’s behavior and lack of credentials, Debtor refused Jordan access

 to the work premise and business decision making procedures to protect Debtor from liability;

        d.      And that Jordan subsequently began making false, defamatory statements against

 Debtor on social media which damaged Debtor.




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    3. On December 11, 2014, Jordan filed an Answer with New Matter and Counterclaim,

 seeking relief on claims of Breach of Contract, Breach of Fiduciary Duty, and requesting that an

 appraiser be appointed. Alan C. Redmond (“Redmond”) was also added as a Plaintiff to the Berks

 Matter.

    4. A summary of the claims of Jordan against Debtor and Redmond is that:

           a.   Jordan was illegally terminated under the employment and ownership sharing

 contract;

           b.   Jordan’s rights as a shareholder of Debtor were breached;

           c.   The Debtor had failed to pay Jordan’s legal fees as required;

           d.   And that the action of Debtor and Redmond amounted to an illegal freeze out of

 Jordan.

    5. After extensive pre-trial litigation, including an appeal to the Superior Court of

 Pennsylvania, a bench trial was held on the Counterclaim in the Berks Matter in September 2021.

    6. In a Decision and Verdict issued by the Honorable Timothy J. Rowley on December 20,

 2021 (see “Exhibit A” attached hereto), the Trial Court found, inter alia:

           a.   Debtor was organized in February 2013 to serve as an insurance call center;

           b.   In July of 2013, at a time when Debtor was indisputably not profitable, Debtor hired

 Jordan as an employee via an employment contract. The contract was offered due, in part, to his

 experience in the insurance sales industry;

           c.   On November 1, 2013, a “Shareholders’ Agreement” (attached as “Exhibit B”

 hereto) was executed by Jordan and Redmond whereby Redmond and Jordan became equal

 (“50/50”) owners of Debtor. Further set forth in the agreement, Jordan and Redmond would hold




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 equal voting rights in consideration of Debtor failing to pay Jordan all monies allegedly owed

 Jordan under the employment contract;

        d.      From November 1, 2013 through August 4, 2014, Redmond and Jordan were equal

 in every way as owners of Debtor, a period in which Debtor became “very” profitable (See

 “Exhibit A” supra);

        e.      On August 4, 2014, Redmond effectuated a “freeze-out” of Jordan, refusing him

 access to Debtor’s property, management of Debtor, and profits from Debtor, and the freeze out

 continued through trial;

        f.      That post-freeze out, Redmond failed to keep corporate procedure of Debtor and

 treated profits of Debtor as profits of Redmond and filed false or fraudulent tax documents through

 C. Malcolm Smith & Co. regarding Debtor;

        g.      Redmond transferred over $360,000.00 from Debtor to Bene Market, LLC

 (“Bene”), a business 96% owned by Redmond, along with Debtor’s book of business, essentially

 and legally making Bene a successor of a now practically-defunct Debtor;

        h.      That between the above and the time of trial, Redmond “misappropriated”

 $3,698,627.10 directly from Debtor and an additional $11,797,865 from Bene for a combined total

 of $15,496,492 in profit that was not shared with Jordan; and

        i.      The actions of Redmond in “freezing out” Jordan and subsequent management of

 Debtor was in violation of the Shareholders’ Agreement and Bylaws of Debtor.

    7. The Court entered a verdict in favor of Jordan and against Redmond as follows:

        a.      $8,105,197.20 in compensatory damages;

        b.      $5,000,000 in punitive exemplary damages;

        c.      Total damages awarded in the amount of $13,105,197.20



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    8. On December 30, 2021, Redmond filed a Motion for Post-Trial Relief.

    9. On January 11, 2022, due to the retirement of Judge Rowley, the Honorable Jeffrey K.

 Sprecher was appointed the Judge presiding over the Berks matter.

    10. On March 31, 2022, Judge Sprecher issued an Amended Verdict, entering judgment in the

 amount of $13,105,197.20 against “the Plaintiffs”, including NBOA, the debtor for whom a stay

 was and remains in place through this Honorable Court. A copy of the Amended Verdict entered

 by Judge Sprecher is attached as Exhibit “C.”

    11. Judgments in that amount have been entered in Berks County, Pennsylvania against both

 Redmond and Debtor (see judgment index attached as “Exhibit D” hereto).

    12. On April 19, 2022, Redmond and the Debtor appealed to the Superior Court of

 Pennsylvania.

    13. On October 21, 2022, an Order was issued staying the execution of the judgment.

    14. On January 25, 2024, the stay of execution was lifted by the Superior Court of

 Pennsylvania.

    15. On July 28, 2022, Jordan, by and through Joel Reedy, Esq. and Cornerstone Law Firm,

 filed a civil suit in the Berks County, Pennsylvania Court of Common Pleas against Bene,

 Redmond, and Stephania Miller (“Miller”) asserting a claim of Unjust Enrichment, seeking to

 pierce Bene’s corporate veil, and demanding damages and a receivership, Berks County Civil

 Docket 22-11757 (“the Pending Matter”).

    16. The gist of the Pending Matter is:

                 a. That following the freeze out of Jordan referenced in the Berks Matter, and as

                    determined in the Berks matter, Redmond misappropriated nearly $4 million of




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                   Debtor funds through payments of personal debts, legal fees, and distributions

                   and salaries not shared with Jordan, a 50/50 owner;

               b. That Redmond misappropriated Debtor’s book of business by transferring it to

                   Bene at a discounted rate;

               c. That Bene essentially operated as the Debtor with simply a different name,

                   having the same business model, location, employees, equipment, etc.

               d. That Miller, the former Chief Financial Officer of Debtor, is a four percent (4%)

                   owner of Bene;

               e. That Redmond has misappropriated over $11 million from Bene without

                   sharing with Jordan;

               f. That Bene is simply a continuation of Debtor, and that the assets of Bene

                   are actually the assets of Debtor.

               g. That Bene eschews all corporate formalities and is simply a façade for

                   Redmond’s personal dealings.

 Relevant Procedural and Factual History – Present Bankruptcy Proceedings

    17. On September 3, 2019, Debtor filed its petition under Chapter 7 (“Petition”).

    18. On January 30, 2020, Jordan removed the Berks matter to this Court, docketed as

 Adversary Proceeding 20-000016.

    19. On January 4, 2021, the Honorable Patricia M. Mayer signed a “Consent Order to Remand

 State Court Claims Against Alan Christopher Redmond to State Court and to Lift Stay for State

 Court Claims by Jason Scott Jordan Against Alan Christopher Redmond” entered into between

 Jordan and Chapter 7 Trustee, Robert H. Holber. A copy of the January 4, 2021 Consent Order is

 attached as Exhibit “E.”



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    20. Pursuant to this Consent Order, Jordan was allowed to pursue claims against Redmond

 only as they were not core proceedings involving property of the Debtor’s estate:

        Notwithstanding the Initial Stay Relief Order, the automatic stay (including a stay
        under 11 U.S.C. § 362) is hereby lifted as it applies to claims by Jason Scott Jordan
        against Alan Christopher Redmond in the State Court Action provided however
        that such State Court Action shall not include any claims against the Debtor or
        the Trustee nor shall the Trustee be required to participate in any discovery in the
        State Court action.

 Exhibit “E” Consent Order at ¶ 5 (emphasis added).

    21. At no point, at any time, for any duration, was the stay lifted as to Debtor or as to property

 of the Debtor’s estate.

        Violation of the Automatic Stay – Argument

        The Debtor submits that the automatic stay was violated by the entry of the judgment

 against the Debtor in Berks matter. The Debtor further avers that as the finances of Redmond and

 Bene are so intertwined with that of Debtor- in fact, Jordan’s judgment against Redmond and Bene

 is based on a theory that they inappropriately came into possessions of Debtor- this case presents

 an unusual circumstance under which the automatic stay should be applied not only to Debtor, but

 also third-parties Redmond and Bene. The Debtor further asserts that through the Pending Matter,

 Jordan and his counsel, Joel Reedy, Esq., and Cornerstone Law Firm, are knowingly continuing to

 violate the automatic stay as they seek damages from Redmond, Bene, and Miller from assets they

 not only acknowledge, but affirmatively argue, belong to Debtor’s estate.

        Pursuant to 11 U.S.C. §362:

        Except as provided in subsection (b) of this section, a petition filed under
        section 301, 302, or 303 of this title, or an application filed under section 5(a)(3) of
        the Securities Investor Protection Act of 1970, operates as a stay, applicable to all
        entities, of—
        (1) the commencement or continuation, including the issuance or employment of
        process, of a judicial, administrative, or other action or proceeding against the debtor that
        was or could have been commenced before the commencement of the case under this

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        title, or to recover a claim against the debtor that arose before the commencement of the
        case under this title;
        (2) the enforcement, against the debtor or against property of the estate, of a judgment
        obtained before the commencement of the case under this title;
        (3) any act to obtain possession of property of the estate or of property from the estate or
        to exercise control over property of the estate;
        (4) any act to create, perfect, or enforce any lien against property of the estate;
        (5) any act to create, perfect, or enforce against property of the debtor any lien to the
        extent that such lien secures a claim that arose before the commencement of the case
        under this title;
        (6) any act to collect, assess, or recover a claim against the debtor that arose before the
        commencement of the case under this title;
        (7) the setoff of any debt owing to the debtor that arose before the commencement of the
        case under this title against any claim against the debtor; and
        (8) the commencement or continuation of a proceeding before the United States Tax
        Court concerning a tax liability of a debtor that is a corporation for a taxable period the
        bankruptcy court may determine or concerning the tax liability of a debtor who is an
        individual for a taxable

 Regarding the “estate”;

        Such estate is comprised of all the following property, wherever located and by
        whomever held:

        (1) Except as provided in subsections (b) and (c)(2) of this section, all legal or equitable
            interests of the debtor in property as of the commencement of the case.

            …
        (6) Proceeds, product, offspring, rents, or profits of or from property of the estate,
        except such as are earnings from services performed by an individual debtor after the
        commencement of the case.
        (7) Any interest in property that the estate acquires after the commencement of the case.

 11 U.S.C. §541.

        Further, the automatic stay can also be applied to property of the estate of a debtor which

 is in the possession of a third party. The Third Circuit has recognized that the automatic stay can

 be extended to third parties in “unusual circumstances.” McCartney v. Inegra National Bank

 North, 106 F.3d 506 (3rd Cir. 1997). In McCartney, the Third Circuit recognized one such

 unusual circumstance “where "there is such identity between the debtor and the third-party

 defendant that the debtor may be said to be the real party defendant and that a judgment against

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 the third-party defendant will in effect be a judgment or finding against the debtor." Id. at 510.

 (quoting A.H. Robbins Co. v. Piccinin, 488 F.2d 994, 999 (4th Cir. 1986). “Unusual

 circumstances exist warranting extension of the stay to nondebtors when: "(i) the non-debtor and

 debtor enjoy such an identity of interests that the suit of the non-debtor is essentially a suit

 against the debtor; or (ii) the third-party action will have an adverse impact on the debtor's ability

 to accomplish reorganization" LTL Mgmt. v. Does, 21-30589 (MBK) (Bankr. D.N.J. Feb. 25,

 2022) (quoting In re Philadelphia Newspapers, LLC, 407 B.R. 606, 616 (E.D. Pa. 2009)).

        In McCartney, the automatic stay was extended beyond the debtor and to an action on a

 loan against a third party to which the debtor was a guarantor. McCartney, 106 F.3d at 510-11.

 In A.H. Robbins, the automatic stay was applied to the debtor’s co-defendants in product liability

 lawsuits as judgments against the co-defendants could potentially reduce the insurance pool

 available to the debtor, thus lessening the estate. A.H. Robbins, 488 F.2d 1008. In Philadelphia

 Newspapers, the automatic stay was applied to non-debtor co-defendants in civil suits as the

 debtor was contractually obligated to indemnify these co-defendants. Philadelphia Newspapers

 407 B.R. at 613-14.

        Further, along these lines, the Third Circuit has held that claims against a successor

 organization of the Debtor on a legal theory that the successor organization of the Debtor

 concern assets of the Debtor’s estate and alleged injured parties do not have standing to bring

 suit seeking these assets. See In re Emoral, Inc., 740 F.3d 875 (3rd Cir. 2014). In Emoral,

 Aaroma was a successor corporation to Emoral, who at the time of the transfer of assets was

 knowingly open to liability for personal injury and product liability claims. Id. at 877. Emoral

 filed bankruptcy, and alleged injured parties brought suit against Aaroma in the New Jersey State

 Trial Court on claims of personal injury and product liability originating against Emoral, arguing



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 Aaroma was a “mere continuation” of Emoral. Id. The Third Circuit held that seeking to hold a

 successor entity liable as a mere continuation of another entity is a general claim, as any creditor

 of the original entity would be entitled to relief under the same theory. Id. at 880. A general

 claim is part of the original organization’s bankruptcy estate and thus should be subject to

 prosecution by the bankruptcy trustee. Id. at 880. The same can be said about actions against a

 party under a veil-piercing theory. Id.


        Here, the automatic stay has been violated. The automatic stay was imposed under §362

 of the Code at the time of Debtors’ filing of their Petition on September 3, 2019. At that point in

 time, pursuant to §362, all judicial proceedings against Debtor were stayed. This much was

 obvious and reflected in this Court’s Consent Order of January 4, 2021, allowing the Berks Matter

 to proceed against Redmond alone. The Consent Order specifically states that the automatic stay

 was lifted as to claims only against Redmond “provided however that such State Court Action

 shall not include any claims against the Debtor.” Ex. “E,” Consent Order at ¶ 5 (emphasis

 added). Further, the enforcement of any claim or judgment against the Debtor was stayed and

 remains stayed. Nonetheless, Judge Sprecher issued a verdict against Debtor on March 31, 2022

 despite the stay, and a judgment was entered in Berks County in violation of the stay.

        Further, Debtor submits to this Court that the judgments against Redmond and Bene are

 also in violation of the automatic stay under law and application. While this Court allowed the

 Berks Matter to continue against Redmond individually, the Decision and Verdict from Judge

 Rowley, and the evidence produced at trial on which the Opinion and Verdict were based, made

 clear that Redmond and Bene Market were liable to the extent they are in possession of the

 Debtor’s assets. Judge Rowley found that after the supposed freeze-out of Jordan (which the Trial




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 Court itself ordered on Petition of Debtor in August of 2014), Redmond eschewed all corporate

 procedures required in the operation of Debtor.

        Judge Rowley found that Redmond improperly distributed to himself profits rightfully

 belonging to Debtor. Judge Rowley found that Redmond improperly transferred Debtor’s book of

 business to Bene, a company almost wholly owned by Redmond, and that the profits of Bene were

 actually attributable to Debtor. Judge Rowley further found that Redmond improperly transferred

 profits of Bene (actually belonging to Debtor) to himself. It is clear from the Decision and Verdict

 that any verdict and subsequent judgment against Redmond and Bene is due to their supposed

 finances being inseparably intertwined with Debtor and/or their being in possession of property

 actually, impliedly or legally belonging to Debtor.

        According to Judge Rowley’s holdings, Jordan was a 50/50 owner of Debtor from

 November 1, 2013. As such, Judge Rowley ruled Jordan was entitled to half of all profits

 distributed. This, according to Judge Rowley’s ruling, would include profits which were produced

 by Bene, which Judge Rowley ruled was a clear successor business to Debtor.

        Debtor submits that these facts inarguably demonstrate that these are “unusual

 circumstances” pursuant to the A.H., McCartney, and Philadelphia Newspapers line of cases in

 which the automatic stay should be extended to third-parties Redmond and Bene. The damages to

 which Jordan received a verdict and judgment to recover is property which belonged to Debtor,

 but Judge Rowley found was misappropriated by Bene and Redmond. Based on Judge Rowley’s

 rulings, the finances of Redmond, Bene, and Debtor are so intertwined, Jordan’s judgment against

 Redmond is a judgment against Debtor. Indeed, this is not a legal fiction since the judgment

 index is clear that a $13 million judgment was, in fact, entered against the Debtor. As such, the




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 judicial proceedings against Redmond violated the automatic stay and the entry and enforcement

 of the Berks County judgments against Redmond and Bene violate the automatic stay.

        Further, Debtor submits that pursuant to Emoral and its predecessor and successor cases,

 Jordan, Joel Reedy, Esq. and Cornerstone Law Firm are actively violating the automatic stay by

 pursuing the Pending Matter. In the Pending Matter, Jordan and counsel do not tacitly admit that

 Bene is a “mere continuation” of Debtor in possession of Debtor assets, they expressly argue that

 point. Moreover, by seeking to pierce Bene’s corporate veil as a personal façade for Redmond,

 they are expressly attributing the assets of Debtor to Redmond. The holding in Emoral is crystal

 clear- seeking damages from a third-party non-debtor as a mere continuation of the Debtor or

 through piercing the veil is seeking assets of the Debtor’s Estate. Assets of the Debtor’s estate are

 subject to the automatic stay.

        For the foregoing reasons, the Debtor requests that this Court find that the Berks Matter’s

 verdicts against it and Redmond violate the automatic stay, as do the entry and enforcement of

 judgments against it, Redmond, and Bene. The Debtor further requests that this Court find that

 the prosecution of the Pending Matter is a knowing violation of the automatic stay by Jordan, Joel

 Reedy, Esq. and Cornerstone Law Firm.

        Request for Remedies- Injunction, Void of Judgments, and Sanctions

        Bankruptcy Courts are courts of equity with the power to “issue any order, process, or

 judgment that is necessary or appropriate to carry out the provisions of” the Bankruptcy Code. 11

 U.S.C. 105(a).

 Equitable Relief- Injunction and Void of Judgment.

        The Debtor submits that to effectuate the purpose of the Code in this particular case, it

 would be equitable to issue an injunction prohibiting Jordan from attempting to enforce the



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 judgments entered against the Debtor, Redmond, and Bene. Further, the Debtor submits that the

 liability, damages, and ability to meet those damages by Redmond and Bene in connection with

 the Berks matter are so intertwined with the Debtor’s bankruptcy estate that the verdict against

 Debtor, Redmond, and Bene should be voided and litigation against these parties in the Berks

 matter must be returned to the status quo, as it existed prior to the Consent Order. This is because

 prosecuting the Berks matter against Redmond was in violation of the automatic stay in all aspects.

 Sanctions

        Section 362(k)(1) of the Bankruptcy Code provides redress for violations of the automatic

 stay. It mandates that, subject to exceptions not applicable in this case, “an individual injured by

 any willful violation of a stay provided by this section shall recover actual damages, including

 costs and attorneys’ fees, and, in appropriate circumstances, may recover punitive damages.”4

 11 U.S.C. § 362(k)(1). “A debtor alleging a violation of the automatic stay has the burden to

 demonstrate, by a preponderance of the evidence, that a violation was willfully committed by the

 respondent, and that the debtor suffered damage as a result of the violation.” In re Panek, 402 B.R.

 71, 76 (D. Mass. 2009). To be a “willful” violation of the stay, it is not necessary that the party

 has the specific intent to violate the stay, just that the act was clearly a violation of the stay. See

 In Re Aleckna, No. 20-1309 (3d Cir. Sep. 9, 2021).

        Here, the Pending Matter is a clear willful violation of the automatic stay. Based on the

 crystal clear holding in Emoral, there can be no doubt in the mind of Jordan, Joel Reedy, Esq., and

 Cornerstone Law Firm that the Pending Matter- which seeks estate assets through theories of mere

 continuation and piercing veil liability- is a stay violation. As such, Redmond and Bene are entitled

 to costs and legal fees associated with the Pending Matter. They further requests punitive damages

 as the Pending Matter is a duplicative theory of liability from the Berks Matter- which itself turned



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 out to be a violation of the stay- and amounts to the harassment of Redmond and Bene over the

 verdict and judgment in the Berks Matter while clearly violating the stay.

        Accordingly, Debtor requests that this Court enter:

        1. The dismissal of the entire verdict and judgment in favor of Jordan in the Berks Matter

            (Berks County Civil Docket 14-17117);

        2. Enjoin Jordan from prosecuting the Berks Matter and

        3. Strike the judgments against the Debtor, Redmond, and Bene and/or prohibit their

            enforcement;

        4. Dismissal of the Pending Matter (Berks County Civil Docket 22-11757);

        5. Sanctions against Jason Jordan, Joel Reedy, Esq., and Cornerstone Law Firm in the

            amount of costs in defending the Pending Matter, including legal fees, and punitive

            damages.

        Philadelphia, PA
        May 24, 2024



                                              RESPECTFULLY SUBMITTED,

                                              ___/s/ Norman M. Valz______________________
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                                              Attorney for Defendants
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                                   CERTIFICATE OF SERVICE




 I CERTIFY that a true and correct copy of the foregoing was served via Notice of Electronic

 Filing (CM/ECF) on this 24th day of May 2024, upon all registered users who have entered their

 appearance in any way for this case in compliance with the Federal Rules of Bankruptcy Procedure

 and the Rules of the Eastern District of Pennsylvania.



 Philadelphia, PA
 May 24, 2024



                                                RESPECTFULLY SUBMITTED,

                                                ___/s/ Norman M. Valz______________________
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